       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Robert Allen Wilkins
        v. Commonwealth of Virginia
        Record No. 0682-14-1
        Opinion rendered by Judge Beales on
        May 12, 2015

    2. Andre Eugene Sanders
        v. Commonwealth of Virginia
        Record No. 1386-14-1
        Opinion rendered by Judge Decker on
        May 26, 2015

    3. Steven Lamont Forte
         v. Commonwealth of Virginia, Department of Social Services, Division of Child Support
         Enforcement, ex rel. Courtney T. Newsome
        Record No. 1220-14-1
        Opinion rendered by Judge McCullough on
         June 9, 2015

    4. Michael Thomas Terlecki
        v. Commonwealth of Virginia
        Record No. 1681-14-2
        Opinion rendered by Chief Judge Huff on
        June 16, 2015
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1 . Dung Thi Thach, et al.
    v. Arlington County Department of Human Services
    Record No. 1309-13-4
    Opinion rendered by Judge Humphreys
     on March 18, 2014
    Refused (140769)

2. Michael A. Oley
   v. Lisa S. Branch
   Record No. 1857-13-2
   Opinion rendered by Judge Humphreys
    on September 9, 2014
   Refused (141719)

3. Christopher Wayne Butler
   v. Commonwealth of Virginia
   Record No. 1213-13-2
   Opinion rendered by Judge Frank
    on October 28, 2014
   Refused (141717)

4. Carlton Shell
   v. Commonwealth of Virginia
   Record No. 2070-13-1
   Opinion rendered by Senior Judge Felton
    on October 28, 2014
   Refused (141699)

5. Charlene Lanette Gregory
   v. Commonwealth of Virginia
   Record No. 0691-13-2
   Opinion rendered by Judge Beales
    on November 25, 2014
   Refused (141899)
